              IN THE COURT OF APPEALS OF NORTH CAROLINA

                                  No. COA19-627

                              Filed: 18 February 2020

Buncombe County, No. 15CRS93153

STATE OF NORTH CAROLINA

             v.

ROBIN RENE RICHARDSON, Defendant.


      Appeal by Defendant from judgment entered 24 January 2019 by Judge

Marvin P. Pope, Jr., in Buncombe County Superior Court. Heard in the Court of

Appeals 22 January 2020.


      Attorney General Joshua H. Stein, by Solicitor General Matthew W. Sawchak
      and Assistant Solicitor General Nicholas S. Brod, for the State-Appellee.

      Appellate Defender Glenn Gerding, by Assistant Appellate Defender Jillian C.
      Katz, for Defendant-Appellant.


      COLLINS, Judge.


      Defendant appeals from judgment entered upon a jury verdict of guilty of

voluntary manslaughter. Defendant argues that the trial court reversibly erred by

omitting certain verbiage from the final mandate of its charge of voluntary

manslaughter. Although the trial court erred, the trial court’s instructions, read as

a whole, adequately presented the law of voluntary manslaughter fairly and clearly

to the jury. We thus discern no reversible error.
                                STATE V. RICHARDSON

                                  Opinion of the Court



                               I. Procedural History

        Defendant Robin Rene Richardson was indicted on 1 February 2016 for the

first-degree murder of Timothy Lee Fry. The case came on for trial on 14 January

2019.    On 24 January 2019, a jury returned a verdict of guilty of voluntary

manslaughter. Defendant was sentenced to 73-100 months’ imprisonment.

Defendant gave notice of appeal in open court.

                              II. Factual Background

        At trial, the evidence tended to show the following:      Defendant and her

boyfriend, Timothy Lee Fry, met in August of 2012 and moved into a house together

a few months later. At first their relationship was good, but it started to deteriorate

after about a year.    Fry was peculiarly fastidious about the organization and

cleanliness of their home and “it got to where [Fry] really had a need to have

everything just perfect in the household.” Defendant testified that Fry verbally and

physically abused her. Fry did not approve of Defendant’s smoking habit and told

her she was getting too fat. Fry would choke her, pull her hair, and push her face.

        Fry was a gun enthusiast who kept loaded guns around the house. He would

take them out, load and unload them, and point the laser sight at different things.

He pointed the laser sight at Defendant’s forehead and chest, which scared her. The

abuse also included repeated instances where Fry would coerce Defendant into




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                                  Opinion of the Court



engaging in sexual activity with him and other, older men. Defendant suffered from

depression and, at one point, attempted suicide.

      On 11 December 2015, Defendant returned home from work to find Fry in their

basement. Three guns were also in the basement—two handguns and a 12-gauge

shotgun. Fry asked Defendant to go with him to South Carolina to have sex with an

older man. Defendant refused. She testified that Fry held a handgun to her chest,

acted like he was pulling the trigger, and told her he would kill her if she did not go

with him.

      Defendant left the basement and went upstairs. When she returned to the

basement, Fry was standing behind a couch, folding laundry. Defendant testified:

             He told me I am going to South Carolina, and he was
             making the reservations and he was calling me names.
             Then he told me that he was going to kill me if I didn’t go.
             He reached over and grabbed where the gun was and he
             started towards me[.]

      Defendant testified that she grabbed a shotgun that was up against the

bathroom wall and “and started firing. The closer he came, the more I would shoot

because he wouldn’t stop, he just kept coming towards me.” Defendant fired five

rounds, hitting Fry four times. Two shots entered Fry’s chest. Another two entered

through Fry’s left arm and armpit, traveling through his left lung and fracturing five

ribs. Each shot required Defendant to reload or “rack” the shotgun. After each shot,

she had to pull back on the shotgun’s slide to load a new shell into the chamber, push

the slide forward, and then pull the trigger.

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                                  STATE V. RICHARDSON

                                     Opinion of the Court



         The State’s forensic pathologist testified that any one of the shots would have

been enough to incapacitate and kill Fry. Three bullet holes from the shotgun’s slugs

were found in the carpet underneath Fry’s body, suggesting that he was on the ground

when Richardson shot him.          Each of the four bullet wounds had a downward

trajectory.

         After she shot Fry, Defendant called 911 and told the operator that she had

shot her boyfriend. Fry was pronounced dead shortly after paramedics arrived on the

scene.

         After a four-day trial, the trial court held a jury charge conference. During the

conference, Defendant asked the trial court to instruct the jury with North Carolina

Pattern Jury Instruction 206.10, which provides model instructions for first-degree

murder, its lesser included offenses, and self-defense. The trial court agreed. The

trial court also agreed to Defendant’s request to omit from the pattern instruction

any instructions about the aggressor doctrine. The State pointed out that there was

no evidence to support an involuntary manslaughter instruction.

         The trial court instructed the jury on first-degree murder, second-degree

murder,       voluntary   manslaughter,    self-defense,    voluntary   intoxication,   and

diminished mental capacity. In giving the final mandate on voluntary manslaughter,

the trial court omitted certain verbiage. After excusing the jury to commence its

deliberations, the trial court asked, “[Does the] State have any additions or



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                                    Opinion of the Court



corrections or modifications to the jury instructions?” The State answered, “No, sir.”

The trial court then asked, “Defendant?” Defendant responded, “No, Your Honor.”

The trial court thus announced, “Okay, very well. We will be at ease in this case.”

                                    III. Discussion

      Defendant’s sole argument on appeal is that the trial court reversibly erred by

omitting certain verbiage from the final mandate on voluntary manslaughter when

the trial court charged the jury.

A. Preservation and Standard of Review

      We first determine to what extent Defendant preserved this issue for our

review.

      Defendant argues that this issue is preserved for review, even though she did

not object to the erroneous instruction before the trial court, because she requested

at the charge conference that the trial court instruct the jury using N.C.P.I.—Crim.

206.10 and the trial court agreed to do so, but the trial court failed to accurately give

the instruction.

      Where a defendant has properly preserved her challenge to jury instructions,

an appellate court reviews the trial court’s decisions regarding jury instructions de

novo. State v. Osorio, 196 N.C. App. 458, 466, 675 S.E.2d 144, 149 (2009). On appeal,

a defendant is required not only to show that a challenged jury instruction was

erroneous, but also that such error prejudiced the defendant. N.C. Gen. Stat. § 15A-



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                                     Opinion of the Court



1442(4)(d) (2019).     “A defendant is prejudiced . . . when there is a reasonable

possibility that, had the error in question not been committed, a different result

would have been reached at the trial out of which the appeal arises.” N.C. Gen. Stat.

§ 15A-1443(a) (2019).

         The State argues this issue is only reviewable for plain error because

Defendant did not object to the voluntary manslaughter instruction before the trial

court.

               [T]he plain error rule . . . is always to be applied cautiously
               and only in the exceptional case where, after reviewing the
               entire record, it can be said the claimed error is a
               “fundamental error, something so basic, so prejudicial, so
               lacking in its elements that justice cannot have been done,”
               or “where [the error] is grave error which amounts to a
               denial of a fundamental right of the accused,” or the error
               has “‘resulted in a miscarriage of justice or in the denial to
               appellant of a fair trial’” or where the error is such as to
               “seriously affect the fairness, integrity or public reputation
               of judicial proceedings” or where it can be fairly said “the
               instructional mistake had a probable impact on the jury’s
               finding that the defendant was guilty.”

State v. Odom, 307 N.C. 655, 660, 300 S.E.2d 375, 378 (1983) (quoting United States

v. McCaskill, 676 F.2d 995, 1002 (4th Cir. 1982) (footnotes omitted) (emphasis in

original)).

         Pursuant to our Rules of Appellate Procedure:

               A party may not make any portion of the jury charge or
               omission therefrom the basis of an issue presented on
               appeal unless the party objects thereto before the jury
               retires to consider its verdict, stating distinctly that to


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                                 STATE V. RICHARDSON

                                   Opinion of the Court



             which objection is made and the grounds of the objection;
             provided that opportunity was given to the party to make
             the objection out of the hearing of the jury, and, on request
             of any party, out of the presence of the jury.

N.C. R. App. P. 10(a)(2).

      However, our Supreme Court has recently stated, specifically on the issue of a

self-defense instruction, as follows:

                   Though the trial court here agreed to instruct the
             jury on self-defense under N.C.P.I.—Crim. 206.10, it
             omitted the “no duty to retreat” language of N.C.P.I.—
             Crim. 206.10 without notice to the parties and did not give
             any part of N.C.P.I.—Crim. 308.10, the “stand-your-
             ground” instruction. . . . The State nonetheless contends
             that defendant did not object to the instruction as given,
             thereby failing to preserve the error below and rendering
             his appeal subject to plain error review only.
                    When a trial court agrees to give a requested pattern
             instruction, an erroneous deviation from that instruction is
             preserved for appellate review without further request or
             objection.
                    [A] request for an instruction at the charge
                    conference is sufficient compliance with the
                    rule to warrant our full review on appeal
                    where     the    requested     instruction     is
                    subsequently promised but not given,
                    notwithstanding any failure to bring the error
                    to the trial judge’s attention at the end of the
                    instructions.
             State v. Ross, 322 N.C. 261, 265, 367 S.E.2d 889, 891             (1988). Because the trial court here agreed to instruct the
             jury in accordance with N.C.P.I.—Crim. 206.10, its
             omission of the required stand-your-ground provision
             substantively deviated from the agreed-upon pattern jury
             instruction, thus preserving this issue for appellate review
             under [N.C. Gen. Stat.] § 15A-1443(a).


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                                 STATE V. RICHARDSON

                                    Opinion of the Court




State v. Lee, 370 N.C. 671, 675-76, 811 S.E.2d 563, 567 (2018) (emphasis and brackets

added).

      In Ross, upon which the Lee Court relied, “defendant requested, and the trial

judge indicated he would give, a jury instruction concerning defendant’s decision not

to testify in his own defense at trial. Yet, . . . the trial judge neglected to give the

requested and promised jury instruction.” Ross, 322 N.C. at 264, 367 S.E.2d at 891.

This Court “note[d] at the outset that the trial judge’s failure to give the requested

and promised instruction [was] properly before [the Court] on appeal despite

defendant’s failure to object prior to the commencement of the jury’s deliberation[,]”

despite defendant’s “fail[ure] to embrace a final, explicit opportunity provided by the

trial judge for remaining comments on the jury instructions[,]” and notwithstanding

the fact that “Rule 10(b)(2) of the North Carolina Rules of Appellate Procedure

provides that no party may assign as error any portion of the jury charge or omission

therefrom unless he enters an objection before the jury retires to consider its verdict.”

Id. at 264-65, 367 S.E.2d at 891.

      In concluding that defendant’s issue was properly preserved for review, the

Court relied upon the then-recent case of State v. Pakulski, 319 N.C. 562, 356 S.E.2d

319 (1987), in which it “held that a request for an instruction at the charge conference

is sufficient compliance with the rule to warrant our full review on appeal where the

requested instruction is subsequently promised but not given, notwithstanding any


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                                 STATE V. RICHARDSON

                                   Opinion of the Court



failure to bring the error to the trial judge’s attention at the end of the instructions.”

Ross, 322 N.C. at 265, 367 S.E.2d at 891.

       In Pakulski, “[d]uring the instruction conference, defense counsel asked the

court to give the pattern instruction on prior inconsistent statements (N.C.P.I.—

Crim. 105.20).” Pakulski, 319 N.C. at 574, 356 S.E.2d at 327. “The judge then stated,

‘If I overlook that, call it to my attention. I don’t think I will.’” Id. “The court never

gave the requested instruction” and “the omission was not called to the court’s

attention prior to jury deliberations.” Id. The Court concluded that the issue was

preserved for review under N.C. Gen. Stat. § 15A-1443 because “defense counsel

complied with the spirit of Appellate Rule 10(b)(2)” by “request[ing] an instruction on

impeaching a witness with a prior inconsistent statement.” Id. at 575, 356 S.E.2d at

327.

       In Lee, Ross, and Pakulski, the error our Supreme Court determined to be

preserved under Appellate Rule 10 solely by defendant’s request for a specific jury

instruction was the trial court’s complete failure to give the requested jury

instruction. Accordingly, when a trial court agrees to give a requested instruction,

an “erroneous deviation from that instruction” occurs when the trial court fails to give

the requested instruction. Lee, 370 N.C. at 676, 811 S.E.2d at 567. Thus, under Lee,

it is the trial court’s failure to give the agreed-upon instruction that is “preserved for

appellate review without further request or objection.” Id.; see State v. Gordon, 104



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                                   Opinion of the Court



N.C. App. 455, 458, 410 S.E.2d 4, 7 (1991) (Defendant’s challenge to the manner in

which the trial court instructed the jury on self-defense was not preserved by her

request for the self-defense instruction, and the trial court’s indication that it would

give the pattern instruction, because a defendant’s request for a pattern instruction

preserves a challenge only to “the failure of the trial judge to give [that] instruction

at all.”).

        Here, Defendant requested that the trial court instruct the jury pursuant to

N.C.P.I.—Crim. 206.10, which includes the relevant provision on voluntary

manslaughter. The trial court agreed to instruct the jury accordingly. The trial court

instructed the jury pursuant to N.C.P.I.—Crim. 206.10, including instructing on

voluntary manslaughter. However, the trial court omitted certain verbiage from the

instruction when giving the final mandate to the jury on voluntary manslaughter. As

the trial court did not completely fail to give the agreed-upon instruction, Defendant’s

argument that the trial court erroneously delivered the mandate was not “preserved

for appellate review without further request or objection.” Lee, 370 N.C. at 676, 811

S.E.2d at 567. As Defendant did not object when the instruction was given, and

“failed to embrace a final, explicit opportunity provided by the trial judge for

remaining comments on the jury instructions,” Ross, 322 N.C. at 264, 367 S.E.2d at

891, Defendant has failed to preserve this issue for review under N.C. Gen. Stat.

§ 15A-1443.



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                                STATE V. RICHARDSON

                                   Opinion of the Court



      However, Defendant, in an alternative argument, “specifically and distinctly”

contended the trial court’s erroneous jury instruction amounted to plain error. Thus,

we may analyze the issue for plain error. N.C. R. App. P. 10(a)(4) (“In criminal cases,

an issue that was not preserved by objection noted at trial . . . may be made the basis

of an issue presented on appeal when the judicial action questioned is specifically and

distinctly contended to amount to plain error.”). We nevertheless note that, under

both the review described in N.C. Gen. Stat. § 15A-1443 and plain error review,

Defendant has failed to show reversible error.

B. Analysis

      “When analyzing jury instructions, we must read the trial court’s charge as a

whole.” State v. Fowler, 353 N.C. 599, 624, 548 S.E.2d 684, 701 (2001). “We construe

the jury charge contextually and will not hold a portion of the charge prejudicial if

the charge as a whole is correct.” Id. “If the charge as a whole presents the law fairly

and clearly to the jury, the fact that isolated expressions, standing alone, might be

considered erroneous will afford no ground for a reversal.” State v. McWilliams, 277

N.C. 680, 685, 178 S.E.2d 476, 479 (1971) (citation omitted).

      The trial court instructed the jury on first-degree murder, second-degree

murder,   voluntary    manslaughter,     self-defense,    voluntary   intoxication,   and

diminished mental capacity.      Near the beginning of the charge, the trial court

instructed, “The State must prove to you that the defendant is guilty beyond a



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                                   Opinion of the Court



reasonable doubt.” After instructing the jury on the definition of each theory of guilt

and of self-defense, the trial court then specifically instructed, “The defendant would

not be guilty of any murder or manslaughter if the defendant acted in self-defense

and did not use excessive force under the circumstances.” Later in the charge, the

trial court instructed the jury as follows:

             If the State fails to prove that the defendant did not act in
             self-defense, you may not convict the defendant of either
             first- or second-degree murder; however, you may convict
             the defendant of voluntary manslaughter if the State
             proves that the defendant used excessive force.

      After instructing the jury on the elements of first-degree murder and second-

degree murder, the trial court instructed the jury on the elements of voluntary

manslaughter, as follows:

                     For you to find the defendant guilty of voluntary
             manslaughter, the State must prove three things beyond a
             reasonable doubt: first, that the defendant killed the victim
             by an intentional and unlawful act; second, that the
             defendant’s act was a proximate cause of the victim’s
             death. A proximate cause is a real cause, a cause without
             which the victim’s death would not have occurred. And
             third, that the defendant did not act in self-defense, or
             though acting in self-defense used excessive force.
             Voluntary manslaughter is also committed if the defendant
             kills in self-defense but uses excessive force.
                    The burden is on the State to prove beyond a
             reasonable doubt that the defendant did not act in self-
             defense; however, if the State proves beyond a reasonable
             doubt that defendant, though otherwise acting in self-
             defense, used excessive force, the defendant would be
             guilty of voluntary manslaughter.



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                                STATE V. RICHARDSON

                                   Opinion of the Court



      This instruction accurately followed N.C.P.I.—Crim. 206.10, for voluntary

manslaughter. However, in its final mandate for voluntary manslaughter, the trial

court instructed the jury as follows:

                    If you find from the evidence beyond a reasonable
             doubt that on or about the alleged date the defendant
             intentionally wounded the alleged victim with a deadly
             weapon and thereby proximately caused the alleged
             victim’s death, it would be your duty to find the defendant
             guilty of voluntary manslaughter, even if the State has
             failed to prove that the defendant did not act in self-
             defense.

      As the State concedes, this instruction was erroneous. Pursuant to N.C.P.I.—

Crim. 206.10, the instruction should have been given as follows:

                    If you find from the evidence beyond a reasonable
             doubt that on or about the alleged date, the defendant
             intentionally wounded the victim with a deadly weapon
             and thereby proximately caused the victim’s death, and
             that the defendant . . . used excessive force, it would be your
             duty to find the defendant guilty of voluntary
             manslaughter even if the State has failed to prove that the
             defendant did not act in self-defense.

N.C.P.I.—Crim. 206.10 (2018) (emphasis added).

      Shortly after the erroneous instruction, the trial court instructed the jury as

follows:

             And finally, if the State has failed to satisfy you beyond a
             reasonable doubt that the defendant did not act in self-
             defense or that the defendant used excessive force, then the
             defendant’s action would be justified by self-defense, and
             therefore, it would be your duty to return a verdict of not
             guilty.


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                                STATE V. RICHARDSON

                                   Opinion of the Court



      Although the trial court erroneously omitted the verbiage “and that the

defendant . . . used excessive force” from the voluntary manslaughter final mandate,

the trial court correctly instructed the jury on three separate occasions during the

charge on the State’s burden to prove Defendant’s use of excessive force for the jury

to find Defendant guilty of voluntary manslaughter.          Moreover, on two other

occasions during the charge, including once after the erroneous voluntary

manslaughter final mandate was given, the trial court correctly instructed the jury

that it should return a verdict of not guilty if defendant acted in self-defense and did

not use excessive force. We thus conclude that the trial court’s instructions, read as

a whole, adequately presented the law of voluntary manslaughter fairly and clearly

to the jury, and the isolated mistake, standing alone, affords no ground for reversal.

McWilliams, 277 N.C. at 685, 178 S.E.2d at 479.

      The trial court’s error is similar to the one made in State v. Baker, 338 N.C.

526, 564, 451 S.E.2d 574, 597 (1994). In Baker, the trial court properly instructed the

jury on the State’s burden of proof for the charges of murder, common law robbery,

and first-degree kidnapping.     Id. at 564-65, 451 S.E.2d at 597.     However, after

instructing the jury properly on the kidnapping charge, the trial court concluded as

follows: “However, if you do not so find, or have a reasonable doubt as to one or more

of these things, it would be your duty to return a verdict of guilty.” Id. at 564, 451

S.E.2d at 597 (emphasis added).



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                                STATE V. RICHARDSON

                                   Opinion of the Court



      Our Supreme Court concluded this error was not prejudicial, explaining that

             [t]his Court has repeatedly held that a lapsus linguae not
             called to the attention of the trial court when made will not
             constitute prejudicial error when it is apparent from a
             contextual reading of the charge that the jury could not
             have been misled by the instruction. In the instant case,
             the trial court repeatedly instructed the jury that the State
             had the burden of proving defendant was guilty beyond a
             reasonable doubt. The court also instructed that “[a]fter
             weighing all the evidence, if you are not convinced of the
             guilt of the defendant beyond a reasonable doubt, you must
             find him not guilty.” In addition, in its instructions on
             murder and common-law robbery, the court stated that if
             the jurors did not find each element had been shown, it
             would be their duty to return a verdict of not guilty.
             Reading the charge in its entirety, we are convinced the
             jurors could not have been misled by the omission
             complained of.

Id. at 565, 451 S.E.2d at 597 (internal citation omitted).

      As in Baker, the trial court here repeatedly instructed the jury that the State

had the burden of proving Defendant was guilty beyond a reasonable doubt, including

when it instructed in detail on voluntary manslaughter, and emphasized that, if the

jury did not find each element of the charge had been proven beyond a reasonable

doubt, it must find Defendant not guilty. Thus, as in Baker, when “[r]eading the

charge in its entirety, we are convinced the jurors could not have been misled by the

omission complained of.” Id.



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                                       STATE V. RICHARDSON

                                          Opinion of the Court



        The facts of the present case are distinguishable from those in State v. Hunt,

192 N.C. App. 268, 664 S.E.2d 662 (2008).1                    In Hunt, the trial court properly

instructed the jury on first-degree murder, second-degree murder, and voluntary

manslaughter. Id. at 270, 664 S.E.2d at 664. However, the instruction on voluntary

manslaughter included the following misstatement:

                Now, the burden is on the State to prove beyond a
                reasonable doubt that the defendant did not act in the heat
                of passion upon adequate provocation, but rather that he
                acted with malice. If the defendant fails to meet this
                burden, the defendant can be guilty of no more than
                voluntary manslaughter.

Id. at 271, 664 S.E.2d at 664 (emphasis added). Although the trial court first properly

instructed the jury that the burden of proof was on the State, it incorrectly instructed

the jury in the next sentence that the burden was on the defendant. Id.
        “Shortly after deliberation began, the jury returned to the court and requested

‘a list of requirements for [second] [d]egree [m]urder and [two] [m]anslaughters.’” Id.
(alterations in original).

                The trial judge asked the court reporter to type up the
                original oral instructions as to those charges and give each
                juror a copy of the instructions. The instructions given to
                the jury included the misstatement on the instruction of



        1 Defendant relies on State v. Hamilton, No. COA14-1005, 2015 N.C. App. LEXIS 181 at *1
(N.C. Ct. App. 2015) (unpublished), in support of her argument that the erroneous instruction was
reversible error. “An unpublished decision of the North Carolina Court of Appeals does not constitute
controlling legal authority. Accordingly, citation of unpublished opinions in briefs . . . in the trial and
appellate divisions is disfavored[.]” N.C. R. App. P. 30(e)(3). As Hunt has similar facts and a similar
analysis to Hamilton, we distinguish the case before us from Hunt.

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                                        STATE V. RICHARDSON

                                           Opinion of the Court



                voluntary manslaughter. The jury ultimately convicted
                defendant of second[-]degree murder.

Id. On appeal, this Court was “unable to conclude that the instructional error did not

have a probable impact on the jury’s finding of guilt[,]” explaining,

                [t]his is not a case with a singular misstatement where the
                trial court repeatedly instructed the jury that the State had
                the burden of proving that defendant was guilty beyond a
                reasonable doubt. Nor is this a case where the trial court
                made a misstatement of law which was preceded by several
                correct instructions. Instead, the trial court made a
                misstatement as to the burden of proof for the voluntary
                manslaughter charge and then provided that same
                misstatement to the jury in writing, along with the correct
                second[-]degree murder and involuntary manslaughter
                charges.

Id. (internal quotation marks and citations omitted).

        Unlike the instructions in Hunt, the instructions at issue in this case included

a “singular misstatement,” id., after the trial court repeatedly instructed the jury that

the burden of proof was on the State to prove every element of the charge beyond a

reasonable doubt. Moreover, the record before this Court does not indicate that the

trial court provided the misstatement to the jury in writing. Although the trial court

indicated that it would give the jurors a copy of the instructions for their

deliberations, it is apparent from the transcript, and Defendant does not argue

otherwise,2 that the trial court intended to give jurors a copy of the written


        2
        The record does not contain a copy of the jury instructions provided to the jurors. “The record
on appeal in criminal actions shall contain . . . copies of all other papers filed . . . in the trial courts



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                                      STATE V. RICHARDSON

                                         Opinion of the Court



instructions as agreed upon by the parties, not a copy of the transcribed oral

instructions given in the jury charge. Hunt is distinguishable, and we are bound by

Baker.

                                         IV. Conclusion

       The trial court’s instructions, read as a whole, adequately presented the law of

voluntary manslaughter fairly and clearly to the jury. We thus discern no plain error.

       NO PLAIN ERROR.

       Judges ARROWOOD and HAMPSON concur.




which are necessary for an understanding of all issues presented on appeal[. . . .]” N.C. R. App. P.
9(a)(3)(i). “It is the appellant’s duty and responsibility to see that the record is in proper form and
complete.” State v. Alston, 307 N.C. 321, 341, 298 S.E.2d 631, 644-45 (1983).

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